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          IN THE UNITED STATES DISTRICT COURT FOR THE
                 NORTHERN DISTRICT OF FLORIDA
                     TALLAHASSEE DIVISION




NETWORK TALLAHASSEE, INC.,

            Plaintiff,

v.                                                  CASE NO. 4:10cv38-RH/WCS

EMBARQ CORPORATION et al.,

            Defendants.

___________________________________/


     ORDER EXTENDING THE CLASS-CERTIFICATION DEADLINE


      The parties have filed a joint motion to extend the deadline for a class-

certification motion. This order grants the motion and sets a new deadline.

      One of the grounds for the motion warrants attention. According to the

motion, a discovery request was met with blanket objections and a statement that

discovery would be provided “subject to and without waiving” the objections.

This is an abusive practice that has become commonplace but should end.

      A party met with a response of this kind may insist that the objections be

explicitly waived or withdrawn in writing and, if they are not, may move to

compel. The motion will always be granted, and fees will always be assessed, at
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least absent a reasonable explanation that is difficult to imagine.

         The reason is this. A full response to a discovery request waives an

objection. When an ethical attorney fully responds to a discovery request, the

assertion that the response is made “subject to and without waiving the objection”

is simply meaningless language. That apparently is the situation in this case. But

an unscrupulous attorney could withhold properly discoverable information—a

smoking-gun document, for example—and assert later that he did nothing

dishonest because he had, after all, objected to the discovery request and simply

withheld the information based on the (unwaived) objection. In order to ensure

that this does not occur, the party seeking discovery may insist that unfounded

objections be withdrawn and, if they are not, may move to compel, thus obtaining

an order requiring the adverse party to provide the full discovery as requested.

         No motion to compel has been filed, perhaps because the parties now have

worked out the discovery issue. But this order provides fair warning: a party

cannot properly engage in this practice. The party may object to discovery or not,

but the party cannot have it both ways.

         For these reasons,

         IT IS ORDERED:

         The joint motion to extend the deadline for filing a class-certification

motion, ECF No. 72, is GRANTED. The deadline is extended to October 15,

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2010.

         SO ORDERED on September 20, 2010.

                                          s/Robert L. Hinkle
                                          United States District Judge




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